              Case 2:08-cr-00389-TLN Document 208 Filed 03/27/12 Page 1 of 2


1    BENJAMIN B. WAGNER
     United States Attorney
2    MICHAEL M. BECKWITH
     Assistant U.S. Attorney
3    501 I St., Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2729
5
6
                        IN THE UNITED STATES DISTRICT COURT
7
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,        )           CR. No. S 2:08-389 GEB
10                                    )           CR. No. S 2:08-390 GEB
                                      )           CR. No. S 2:08-391 GEB
11                                    )
                     Plaintiff,       )
12                                    )
                                      )             [PROPOSED] ORDER
13                v.                  )
                                      )
14                                    )
     KEOUDONE NOY PHAOUTHOUM,         )
15                                    )
                      Defendant.      )
16   _________________________________)
17
18                                        ORDER
19        For the reasons set forth in the motion to dismiss filed by
20   the United States, IT IS HEREBY ORDERED that:
21        The Indictment’s in case numbers CR-S-08-389 GEB, CR-S-08-
22   390 GEB, and CR-S-08-391 GEB, as to defendant KEOUDONE NOY
23   PHAOUTHOUM are hereby DISMISSED pursuant to Federal Rule of
24   Criminal Procedure 48(a) without prejudice.
25   Dated:     March 26, 2012
26
27                                     GARLAND E. BURRELL, JR.
28                                     United States District Judge

                                            1
     Case 2:08-cr-00389-TLN Document 208 Filed 03/27/12 Page 2 of 2


1
2
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                   2
